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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF KANSAS
 FLORENCE ASLINIA, M.D.,          )
       Plaintiff,                 )
                                  )
 v.                               )
                                  )
 UNIVERSITY OF KANSAS             )   Case No.: 2:24-cv-2208
                                  )
 And                              )
                                  )
 UNIVERSITY OF KANSAS PHYSICIANS, )
 INC.,                            )
       Defendants.                )
                             COMPLAINT

        COMES NOW, Plaintiff, Florence Aslinia, M.D., by and through undersigned counsel of

record, and for her claims against Defendants University of Kansas and University of Kansas

Physicians, Inc., states and alleges the following:

                             PARTIES, VENUE AND JURISDICTION

        1.        Plaintiff, Florence Aslinia, M.D., is a resident of the state of Kansas.

        2.        Defendant, University of Kansas Physicians (“UKP”) is a Kansas not-for-profit

corporation, with its principal office located at 2330 Shawnee Mission Parkway, Suite 312, Westwood,

Kansas; and may be served with process through its registered agent, National Registered Agents, Inc.,

112 SW 7th Street, Suite 3C, Topeka, Kansas 66603.

        3.        Defendant, the University of Kansas (the “University”), is an institution of higher

education established under the laws of the state of Kansas, and pursuant to Fed. R. Civ. P. 4(j)(2)(A),

the University of Kansas may be served through its chief executive officer.

        4.        Pursuant to K.S.A. § 76-714, the chief executive officer of the University of Kansas is

the Chancellor.

        5.        Accordingly, the University of Kansas may be served through Chancellor Douglas A.

Gerod, 230 Strong Hall, 1450 Jayhawk Boulevard, Lawrence, Kansas 66045.

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        6.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), in that the events

and omissions giving rise to Plaintiff’s claims occurred in this District, and pursuant to 42 U.S.C. §

2000e-5(f)(3), in that the unlawful employment practices stated herein occurred in this District.

        7.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

because it involves federal questions.

        8.       Plaintiff timely filed a Charge of Discrimination against the Defendant UKP with the

U.S. Equal Employment Opportunity Commission and the Kansas Human Rights Commission on

August 16, 2023, and against the University on August 11, 2023.

        9.       The U.S. Equal Employment Opportunity Commission issued its Notice of Right to

Sue Within 90 Days as to the charge against UKP, which Plaintiff received on March 21, 2024.

        10.      The U.S. Department of Justice Civil Rights Division issued its Notice of Right to Sue

Within 90 Days as to the charge against the University, which Plaintiff received on April 24, 2024.

        11.      Less than 90 days have passed since March 21, 2024, and April 24, 2024, and this

lawsuit is timely filed.

                                     ALLEGATIONS OF FACT

        12.      Plaintiff is a licensed physician specializing in gastroenterology.

        13.      Plaintiff accepted employment with the University and UKP on or about December

1, 2017, where she worked in the Internal Medicine Department (the “Department”).

        14.      Within the Department, Plaintiff reported to and was supervised by Mojtaba Olyaee,

M.D., Matthias Salathe, M.D., and Eyad Al-hihi, M.D.

        15.      At the beginning of her employment, the University and UKP, through Dr. Olyaee

and Steven Stites, M.D., charged Plaintiff with the task of establishing a multidisciplinary inflammatory

bowel disease (“IBD”) clinic within the Department.

        16.      The University and UKP, through Dr. Olyaee, promised Plaintiff a directorship if


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successful in her efforts to open the clinic.

          17.   Plaintiff accepted the task and successfully opened the first multidisciplinary IBD

clinic in the state of Kansas in July 2018 without defined funding, protected faculty time, or a business

plan.

          18.   After opening the clinic, Plaintiff initiated and successfully commenced clinical

research and trials for the benefit of her patients, the University and UKP.

          19.   Thereafter, Plaintiff worked to promote the clinic within the state of Kansas by

collaborating with physician liaisons, publishing online, and giving seminars to community

stakeholders such as the Crohn’s and Colitis Foundation.

          20.   Beginning in 2019 and continuing through the termination of her employment in 2023,

Plaintiff repeatedly asked the University and UKP, through Dr. Olyaee, that she be promoted to

Director, as promised, given her continuing contributions to the IBD clinic.

          21.   Similarly situated non-Iranian male colleagues who were either responsible for

establishing or charged with operating a specialty clinic were promoted to Director and provided an

increase in compensation in connection with that promotion.

          22.   Similarly situated non-Iranian male colleagues who were responsible for administrative

duties commensurate with those Plaintiff handled for the IBD clinic received supplemental

compensation; Plaintiff never received supplemental compensation for her contributions to the IBD

clinic.

          23.   In December 2018, Drs. Al-hihi and Salathe issued Plaintiff a write-up related to her

job performance, entitled “list of concerns,” identifying various complaints regarding her

performance.

          24.   Similarly-situated non-Iranian male colleagues were not “written up” or otherwise

critiqued for similar conduct/complaints.


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          25.   At that time, Plaintiff made an initial complaint to Chief Medical Officer Dr. Steven

Stites and the Chief of Staff, Louis Wetzel, that Drs. Salathe and Al-hihi were treating her differently

than her non-Iranian male colleagues.

          26.   Thereafter, Drs. Salathe and Al-hihi continued to treat Plaintiff differently, with the

behavior increasing in frequency and severity after Plaintiff reported her concerns to Drs. Stites and

Wetzel.

          27.   Drs. Salathe and Al-hihi routinely and repeatedly stated they did not have a favorable

view of Plaintiff, her “behavior” or her “approach,” and referred to her regularly as a “troublemaker.”

          28.   Often, and throughout the term of her employment, Drs. Salathe and Al-hihi’s

criticisms and abrasive responses came at group meetings, in front of Plaintiff’s peers, and in response

to Plaintiff voicing an opinion that was different than their own or came when she questioned a

decision by one of them. For example, during one meeting, Dr. Al-hihi raised his voice in response to

a comment Plaintiff made, accusing Plaintiff of “considering him stupid.” When Plaintiff expressed

her opinions, Drs. Salathe and Al-hihi told her she “talked too much” and instructed her to “be quiet”

and to “stop talking.” Dr. Al-hihi told Plaintiff that they let “doctors like [her] go.”

          29.   In contrast, similarly-situated non-Iranian male colleagues were allowed to freely

participate in meetings and voice their opinions without criticism.

          30.   Plaintiff was also subjected to heightened scrutiny for purported violations of policies

and interaction with nursing staff.

          31.   At times, critiques were delivered to Plaintiff by email, accusing her of various

misdeeds, including but not limited to the violation of policies and improper interaction with nursing

staff.

          32.   Complaints made by nurses and other support staff regarding non-Iranian male

physicians were not addressed the same way and did not result in similar criticisms.


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        33.     During her employment with UKP and the University, UKP and the University –

through Drs. Salathe and Al-hihi – selectively enforced policies against Plaintiff while similarly-situated

non-Iranian male colleagues were permitted to repeatedly violate policies without any repercussions.

        34.     In at least one case, UKP and the University affirmatively protected Plaintiff’s non-

Iranian male colleague from negative professional implications of policy violations, including work to

avoid standard of care reports/determinations related to the consequences of policy violations.

        35.     Dr. Al-hihi told Dr. Olyaee that he had “hired too many Iranians” in the Department.

        36.     Many times, complaints by Drs. Salathe and Al-hihi regarding Plaintiff were made to

Dr. Olyaee, who was told to address the issue with Plaintiff.

        37.     This resulted in numerous instances where Dr. Olyaee would pull Plaintiff aside to

discuss whatever issue had been raised. During those conversations, Dr. Olyaee would acknowledge

the differential treatment, noting that Plaintiff had to do better because she was Iranian.

        38.     On information and belief, other female gastroenterologists employed by the

University and UKP experienced similar hostile treatment and harassment.

        39.     In fact, four of seven female gastroenterologists in Plaintiff’s group when she

commenced employment left the Department; with another departing immediately prior to the date

Plaintiff commenced employment.

        40.     Drs. Salathe and Al-hihi scheduled meetings with Plaintiff at times when she was

booked with patients for clinic visits or procedures, requiring her to cancel and reschedule patient

appointments and procedures. In contrast, meetings were scheduled at times conducive to the

schedules of her similarly-situated non-Iranian male colleagues such that they were not required to

cancel procedures or other commitments.

        41.     Drs. Salathe and Al-hihi held meetings where they berated Plaintiff in front of her

colleagues when they were aware Plaintiff would be required to return immediately to her patients,


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including her responsibilities to perform sensitive procedures.

        42.     The behavior described herein was severe, pervasive, and created a hostile work

environment for Plaintiff.

        43.     On January 11, 2023, Drs. Salathe and Al-hihi scheduled another meeting in the middle

of a day where Plaintiff was scheduled to be performing endoscopy procedures. In response, Plaintiff

asked that the meeting be set at another time. Drs. Salathe and Al-hihi refused to reschedule the

meeting.

        44.     The same day, Dr. Al-hihi informed Plaintiff that he had the power to fire her.

        45.     Given the abrasive and hostile treatment of increasing intensity in the preceding weeks

and prior comments by Dr. Al-hihi that they let doctors like Plaintiff go, Plaintiff believed that Drs.

Salathe and Al-hihi intended to either terminate her employment or non-renew her faculty/physician

contract in March 2023.

        46.     If UKP and/or the University terminated Plaintiff, or decided not to renew her

contract, Plaintiff would be required to disclose that information in applications and on forms related

to licensure and hospital privileges which would negatively impact her professional career for years in

the future.

        47.     In consideration of her belief that termination was imminent, the negative

repercussions termination would have on future licensure and credentialing with subsequent

employers, clinics and hospitals, coupled with the continued severe and pervasive harassment and its

effect on her ability to properly and safely treat her patients, Plaintiff was compelled to resign her

employment with the University and UKP.

        48.     Plaintiff resigned her employment on January 11, 2023.

        49.     On information and belief, Drs. Salathe and Al-hihi engaged in similar conduct

directed at other female practitioners and administrative staff.


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        50.      On information and belief, female practitioners in the department have complained to

the University and UKP regarding hostile and discriminatory treatment by Drs. Salathe and Al-hihi.

        51.      On information and belief, the University and UKP were or should have been aware

of complaints by female practitioners working with Drs. Salathe and Al-hihi, but Defendants have

failed to take corrective action.

        52.      On information and belief, other female practitioners have complained about hostile

treatment, harassment, and discrimination by male physicians; but the University and UKP have failed

to investigate those complaints and/or take disciplinary action related to those male physicians. This

has created an environment of tolerance toward harassment and discrimination against women in the

workplace, rather than enforcement of the rights of minority women employed by the University and

UKP, and demonstrates reckless, willful, and wanton conduct by the University and UKP with respect

to the equal employment rights of minority women.

   COUNT I – GENDER DISCRIMINATION – HOSTILE WORK ENVIRONMENT
                           42 U.S.C. § 2000e-2

        53.      Plaintiff incorporates the allegations of paragraphs 1 through 52 of the Complaint as

if fully stated herein.

        54.      Plaintiff is female and, as such, is a member a class protected by 42 U.S.C. §2000e-2.

        55.      The University and UKP are “employers” as defined by 42 U.S.C. §2000e; during the

relevant timeframe, the University and UKP employed Plaintiff.

        56.      Over the course of her employment with the University and UKP, Plaintiff was

subjected to a work environment permeated by severe and pervasive discriminatory intimidation,

ridicule, and insult, as outlined in paragraphs 15 through 44 of this Complaint, which are incorporated

herein by reference.

        57.      The University and UKP’s treatment of Plaintiff was so hostile, severe, and pervasive

that it altered the terms and conditions of her employment and created an abusive work environment.
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        58.      The University and UKP’s treatment of Plaintiff interfered with her work

performance, including her ability to perform procedures for patients.

        59.      The University and UKP’s hostile treatment of Plaintiff was because she is a woman.

        60.      The reasons proffered for the University and UKP’s disparate and hostile treatment

of the Plaintiff were pretextual.

        61.      The University and UKP’s conduct outlined above violated 42 U.S.C. §2000e-2 and

constituted a reckless, willful, and wanton violation of Plaintiff’s rights.

        62.      As a result of the discrimination by the University and UKP, Plaintiff has suffered

damages, including economic and non-economic losses.

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment in her favor for

damages including but not limited to back pay, front pay, lost benefits, other economic loss, emotional

distress, mental anguish, punitive damages, attorney-fees, expert witness fees and other costs and

expenses of litigating these claims, interest, and such other relief as the court deems just and proper.

     COUNT II – GENDER DISCRIMINATION – CONSTRUCTIVE DISCHARGE
                            42 U.S.C. § 2000e-2

        63.      Plaintiff incorporates the allegations of paragraphs 1 through 62 of the Complaint as

if fully stated herein.

        64.      Plaintiff is female and, as such, is a member a class protected by 42 U.S.C. §2000e-2.

        65.      The University and UKP are “employers” as defined by 42 U.S.C. §2000e; during the

relevant timeframe, the University and UKP employed Plaintiff.

        66.      Over the course of her employment with the University and UKP, Plaintiff was

subjected to a work environment permeated by severe and pervasive discriminatory intimidation,

ridicule, and insult, as outlined in paragraphs 15 through 44 of this Complaint, which are incorporated

herein by reference.

        67.      The University and UKP’s treatment of Plaintiff was so hostile, severe, and pervasive
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that it altered the terms and conditions of her employment and created an abusive work environment.

        68.      The University and UKP’s treatment of Plaintiff interfered with her work

performance, including her ability to perform procedures for patients as outlined above.

        69.      The University and UKP’s hostile treatment of Plaintiff was because she is a woman.

        70.      The reasons proffered for the University and UKP’s disparate and hostile treatment

of the Plaintiff were pretextual.

        71.      The discrimination and hostile treatment was so severe and pervasive that a reasonable

person in her position would have felt compelled to resign.

        72.      Plaintiff was constructively discharged from employment when she resigned her

employment because of the discrimination and hostile treatment she experienced, as described herein.

        73.      The University and UKP’s conduct outlined above violated 42 U.S.C. §2000e-2 and

constituted a reckless, willful, and wanton violation of Plaintiff’s rights.

        74.      As a result of the discrimination by the University and UKP, Plaintiff has suffered

damages, including economic and non-economic losses.

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment in her favor for

damages including but not limited to back pay, front pay, lost benefits, other economic loss, emotional

distress, mental anguish, punitive damages, attorney-fees, expert witness fees and other costs and

expenses of litigating these claims, interest, and such other relief as the court deems just and proper.


 COUNT III – GENDER DISCRIMINATION – ADVERSE EMPLOYMENT ACTION
                          42 U.S.C. § 2000e-2

        75.      Plaintiff incorporates the allegations of paragraphs 1 through 74 of the Complaint as

if fully stated herein.

        76.      Plaintiff is female and, as such, is a member a class protected by 42 U.S.C. §2000e-2.

        77.      The University and UKP are “employers” as defined by 42 U.S.C. §2000e; during the


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relevant timeframe, the University and UKP employed Plaintiff.

        78.      Plaintiff suffered an adverse employment action, in that the University and UKP

refused to promote her to a Director position.

        79.      Plaintiff was not promoted to the position of Director because she is a woman.

        80.      On information and belief, other women in Plaintiff’s position have been denied

Director positions after opening and/or operating a specialty clinic similar to Plaintiff’s efforts with

respect to the IBD clinic.

        81.      The explanations offered by the University and UKP for the failure to promote her to

Director are pretextual.

        82.      The University and UKP engaged in the conduct described herein in reckless disregard

for the rights of Plaintiff and was otherwise in wanton and willful violation of Title VII.

        83.      As a result of the discrimination by the University and UKP, Plaintiff has suffered

damages, including economic and non-economic losses.

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment in her favor for

damages including but not limited to back pay, front pay, lost benefits, other economic loss, emotional

distress, mental anguish, punitive damages, attorney-fees, expert witness fees and other costs and

expenses of litigating these claims, interest, and such other relief as the court deems just and proper.

       COUNT IV – NATIONAL ORIGIN DISCRIMINATION – HOSTILE WORK
                            ENVIRONMENT
                            42 U.S.C. § 2000e-2

        84.      Plaintiff incorporates the allegations of paragraphs 1 through 83 of the Complaint as

if fully stated herein.

        85.      Plaintiff is Iranian and, as such, is a member a class protected by 42 U.S.C. §2000e-2.

        86.      Defendants are “employers” as defined by 42 U.S.C. §2000e; during the relevant

timeframe, Defendants employed Plaintiff.


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        87.      Over the course of her employment with Defendants, Plaintiff was subjected to a work

environment permeated by severe and pervasive discriminatory intimidation, ridicule, and insult, as

outlined in paragraphs 15 through 44 of this Complaint, which are incorporated herein by reference.

        88.      Defendants’ treatment of Plaintiff was so hostile, severe, and pervasive that it altered

the terms and conditions of her employment and created an abusive work environment.

        89.      Defendants’ treatment of Plaintiff interfered with her work performance, including

her ability to perform procedures for patients.

        90.      Defendants’ hostile treatment of Plaintiff was because she is from Iran.

        91.      The reasons proffered for Defendants’ disparate and hostile treatment of Plaintiff were

pretextual.

        92.      Defendants’ conduct outlined above violated 42 U.S.C. §2000e-2 and constituted a

reckless, willful, and wanton violation of Plaintiff’s rights.

        93.      As a result of the discrimination by Defendants, Plaintiff has suffered damages,

including economic and non-economic losses.

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment in her favor for

damages including but not limited to back pay, front pay, lost benefits, other economic loss, emotional

distress, mental anguish, punitive damages, attorney-fees, expert witness fees and other costs and

expenses of litigating these claims, interest, and such other relief as the court deems just and proper.

       COUNT V – NATIONAL ORIGIN DISCRIMINATION – CONSTRUCTIVE
                              DISCHARGE
                            42 U.S.C. § 2000e-2

        94.      Plaintiff incorporates the allegations of paragraphs 1 through 93 of the Complaint as

if fully stated herein.

        95.      Plaintiff is Iranian and, as such, is a member a class protected by 42 U.S.C. §2000e-2.

        96.      Defendants are “employers” as defined by 42 U.S.C. §2000e; during the relevant


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timeframe, Defendants employed Plaintiff.

        97.     Over the course of her employment with Defendants, Plaintiff was subjected to a work

environment permeated by severe and pervasive discriminatory intimidation, ridicule, and insult, as

outlined in paragraphs 15 through 44 of this Complaint, which are incorporated herein by reference.

        98.     Defendants’ treatment of Plaintiff was so hostile, severe, and pervasive that it altered

the terms and conditions of her employment and created an abusive work environment.

        99.     Defendants’ treatment of Plaintiff interfered with her work performance, including

her ability to perform procedures for patients as outlined above.

        100.    Defendants’ hostile treatment of Plaintiff was because she is Iranian.

        101.    The reasons proffered for Defendants’ disparate and hostile treatment of Plaintiff were

pretextual.

        102.    The discrimination and hostile treatment was so severe and pervasive that a reasonable

person in her position would have felt compelled to resign.

        103.    Plaintiff was constructively discharged from her employment when she resigned her

employment because of the discrimination and hostile treatment she experienced, as described herein.

        104.    Defendants’ conduct outlined above violated 42 U.S.C. §2000e-2 and constituted a

reckless, willful, and wanton violation of Plaintiff’s rights.

        105.    As a result of the discrimination by Defendants, Plaintiff has suffered damages,

including economic and non-economic losses.

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment in her favor for

damages including but not limited to back pay, front pay, lost benefits, other economic loss, emotional

distress, mental anguish, punitive damages, attorney-fees, expert witness fees and other costs and

expenses of litigating these claims, interest, and such other relief as the court deems just and proper.


COUNT VII – NATIONAL ORIGIN DISCRIMINATION – ADVERSE EMPLOYMENT
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                                              ACTION
                                          42 U.S.C. § 2000e-2

        106.     Plaintiff incorporates the allegations of paragraphs 1 through 105 of the Complaint as

if fully stated herein.

        107.     Plaintiff is Iranian and, as such, is a member a class protected by 42 U.S.C. §2000e-2.

        108.     Defendants are “employers” as defined by 42 U.S.C. §2000e; during the relevant

timeframe, Defendants employed Plaintiff.

        109.     Plaintiff suffered an adverse employment action, in that Defendants refused to

promote her to a Director position.

        110.     Plaintiff was not promoted to the position of Director because she is Iranian.

        111.     The explanations offered by Defendants for the failure to promote her to Director are

pretextual.

        112.     Defendants engaged in the conduct described herein in reckless disregard for the rights

of Plaintiff and was otherwise in wanton and willful violation of Title VII.

        113.     As a result of the discrimination by Defendants, Plaintiff has suffered damages,

including economic and non-economic losses.

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment in her favor for

damages including but not limited to back pay, front pay, lost benefits, other economic loss, emotional

distress, mental anguish, punitive damages, attorney-fees, expert witness fees and other costs and

expenses of litigating these claims, interest, and such other relief as the court deems just and proper.

                                           RETALIATION
                                          42 U.S.C. § 2000e-3

        114.     Plaintiff incorporates the allegations of paragraphs 1 through 113 of the Complaint as

if fully stated herein.

        115.     Defendants are “employers” as defined by 42 U.S.C. §2000e; during the relevant


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timeframe, Defendants employed Plaintiff.

        116.    In December 2018, Plaintiff reported, complained of, and opposed the discriminatory

treatment by Drs. Salathe and Al-hihi by reporting the issue to Drs. Stites and Wetzel.

        117.    On information and belief, Dr. Stites, Dr. Wetzel, or another employee of Defendants

informed Drs. Salathe and Al-hihi of her complaint.

        118.    Thereafter, Drs. Salathe and Al-hihi engaged in a pattern of retaliatory behavior toward

Plaintiff, as detailed in paragraphs 15 through 44 herein.

        119.    Drs. Salathe and Al-hihi engaged in the above-referenced conduct because Plaintiff

complained to Drs. Stites and Wetzel that Drs. Salathe and Al-hihi were treating her differently than

her non-Iranian male colleagues.

        120.    As a result of the retaliation by Defendants, Plaintiff has suffered damages, including

economic and non-economic losses.

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment in her favor for

damages including but not limited to back pay, front pay, lost benefits, other economic loss, emotional

distress, mental anguish, punitive damages, attorney-fees, expert witness fees and other costs and

expenses of litigating these claims, interest, and such other relief as the court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to D. Kan. Rule 40.2(a), Plaintiff hereby requests a trial by jury on all counts and

allegations alleged in this Complaint and, further, requests that trial by held in Kansas City, Kansas.

                                                                Respectfully submitted,
                                                                Fagan & Emert, LLC
                                                                /s/Jennifer R. Johnson
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                                                                800 New Hampshire St., Ste. 110
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                                                                Attorney for Plaintiff
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